AO 440 (Rev. 06/1 2) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                 Eastern District of North Carolina   [3
   SAVE OUR CHILDREN TRUTH COMMISSION ;                           )
    MELODY RODGERS ; MALACHI CHAPMAN;                             )
           LAURIE REYNOLDS et al,                                 )
                                                                  )
                            Plaintifl(s)                          )
                                 V.
                                                                  )
                                                                  )
                                                                          Civil Action No.      '7.'~d.C)/ /78-Fl
 UNITED STATES ; JOE BIDEN ; KAMALA HARRIS ;                      )
XAVIER BECERRA; MERRICK B GARLAND ; JERRY
                                                                  )
  MILER ; ASST SECRETARY OF THE DEPT OF
      CHILDREN AND FAMILY SERVICES ;                              )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Def endant 's name and address)
                                       MICHEAL FRANCIS EASLEY JR.
                                       UNITED STATES ATTORNEY FOR EASTERN DISTRICT OF NORTH CAROLINA
                                       150 Fayetteville Street
                                       Suite 2100
                                       Raleigh , North Carolina 27601


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                       SAVE OUR CHILDREN TRUTH COMMISSION
                                       C/O MELODY RODGERS
                                       201 W. BAYSHORE BLVD.
                                       JACKSONVILLE, NC 28540


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                          P9fer A. Moore, Jr., Clerk
                                                                              CLERK OF COURT


Date:   - - - -=O'.,.....h~
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                        ;)L
                          I=~8.
                             ""'--'---                                         ~"¼fttM     Signature of Clerk or Deputy Clerk




                   Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 1 of 61
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      U NITED STATES DISTRICT COURT
                                                                   for the



  SAVE OUR CHILDREN TRUTH COMM ISSION -                              )
MELODY RO DG ERS ; MALACHI CHAPMAN ; LAURIE                          )
 REYNOLDS; TIJANA VIDANOVIC ; TE RESA GOIN ;                         )
CECE LI A EVERTEZ ; NATASHA LOAC H; SHANEQUA
                                                                     )
- ~ A_llS~ ; MAHOGAN Y HlJNTEB ;DESIB EE
                            Plaintifl(s)
                                                                     )
                                V.
                                                                     )
                                                                     )
                                                                             Civ il Action No.   '7: oaC,..LJ l'l'o+L
 THE UNITED STATES OF AMERI CA ; JOE BIDEN ,
                                                                     )
KAMALA HARR IS ; XAVIER BECERRA ; MERRICK B.
                                                                     )
             GARLAND ; ET. AL.
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (De(e11da n1 's name and address)
                                           Th e United States of America
                                           U.S. Department of Justice 950 Pennsylvania Avenue ,
                                           NW Washington , DC 20530-0001




          A lawsuit has been ft led against you.

         Within 2 1 days after service of this summons on yo u (not co unting th e day yo u received it) - or 60 days if you
are the Un ited States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the pla intiff an answer to th e attached compla int or a motion under Rule 12 of
the Federal Rul es of C ivi l Procedu re. The answer or motion mu st be served on the pla intiff or plai ntiffs attorney,
whose name and address are: SAVE OUR CHILDREN TRUTH COMMISSION
                                           C/O MELODY RODGERS
                                           20 1 W. BAYSHORE BLVD
                                           JACKSONVILLE, NC 28540



       If you fa il to respond, judgment by defaul t wi ll be entered aga inst you fo r the relief demanded in the compla int.
You also mu st file your answer or motion with the co urt.

                                                                                Peter A. Moon,, Jr., ~f•ul>
                                                                                     RKOFCOURT


Date:


                                                                                                                   ----
                                                                                             Signature of Clerk or Deputy Clerk




                       Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 2 of 61
AO 440 (Rev. 06/ 12) Summons in a Civi l Acti on


                                        UNITED STATES DISTRICT COURT
                                                                     fo r the



   SAVE OUR CHILDREN TRUTH COMMISSION -                                 )
MELODY RODGERS ; MALACHI CHAPMAN ; LAURIE                               )
  REYNOLDS ; TIJANA VIDANOVIC ; TERESA GOIN ;                           )
CECELIA EVERTEZ ; NATASHA LOACH ; SHANEQUA
                                                                        )
_    AIJSTIN ; MAHOGAN Y HIJNTER ;DESIBEE
                              Plaintiff(s)
                                                                        )
                                                                        )
                      V.
                                                                        )
                                                                                Civi l Actio n No.   1:8~CJJ \'7B~
 THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                        )
KAMALA HARR IS ; XAVIER BECERRA ; MERRICK B.
                                                                        )
             GARLAND ; ET. AL.
                                                                        )
                                                                        )
                             Defendant(s)                               )

                                                      SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)
                                              JOE BIDEN
                                              U.S . Department of Justice 950 Pennsylvania Avenue ,
                                              NW Washington, DC 20530-0001




           A laws uit has been filed against you.

         With in 2 1 days after serv ice of this summons on yo u (not co unting the day yo u received it)- or 60 days if you
are the Un ited States or a U nited States agency, or an officer o r e mployee of the United States descri bed in Fed. R. Civ.
P. 12 (a)(2) o r (3)- you must serve on the plaintiff an answer to the attached comp laint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motio n must be served on the plaintiff or plaintiffs attorney ,
w hose nam e and address are: SAVE OUR CHILDREN TRUTH COMMISSION
                                             C/0 MELODY RODGERS
                                             201 W. BAYSHORE BLVD
                                             JACKSONVILLE , NC 28540



         If you fai l to respond, judgment by default w ill be entered against yo u for the relief demanded in the comp laint.
You a lso must fi le your answer or motion with the court.

                                                                                 Peter A. Moore, Jr., Clerk

                                                                                    CLERK OF COURT


Date:
                                                                                    ~~g~ ,1~P"o/ c,,,,
                         Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 3 of 61
AO 440 (Rev. 06/ 12) Summons in a Civil Acti on


                                        UNITED STATES DISTRICT COURT
                                                                    for the



  SAVE OUR CHILDREN TRUTH COMMISSION -                                )
MELODY RODGERS ; MALACHI CHAPMAN ; LAURIE                             )
 REYNOLDS ; TIJANA VIDANOVIC ; TERESA GOIN ;                          )
CECELIA EVERTEZ; NATASHA LOACH ; SHANEQUA
                                                                      )
    AlJSTIN ; MAHOGANY HlJNTER ;DESIBEE
                             Plainti.ff(s)
                                                                      )
                                  V.
                                                                      )
                                                                      )
                                                                              C ivil Action No .   r-, ~ ~ l'1f>-fL
 THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                      )
KAMALA HARRIS ; XAVIER BECERRA ; MERRICK B.
                                                                      )
             GARLAND ; ET. AL.
                                                                      )
                                                                      )
                            Defendant(s)                              )

                                                     SUMMO S IN A CIVIL ACTION

To: (Defendant 's name and address)
                                              KAMALA HARRIS
                                              U.S. Department of Justice 950 Pennsylvania Avenue ,
                                              NW Washington , DC 20530-0001




          A lawsuit has been filed against you.

         Within 2 1 days after service of thi s summons on yo u (not co unting the day yo u received it) - or 60 days if you
are the United States or a United States agency , or an officer or employee of the Un ited States described in Fed. R. Civ .
P. 12 (a)(2) or (3) -you must serve on the pla intiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion mu st be served on the plaintiff or plaintiff s attorney,
whose name and address are: SAVE OUR CHILDREN TRUTH COMMISSION
                                             C/0 MELODY RODGERS
                                             201 W. BAYSHORE BLVD
                                             JACKSONVILLE, NC 28540



        If you fail to respond, judgment by default will be entered against yo u for the relief demanded in the complaint.
You also must file your answer or motion w ith the court.

                                                                               Peter A. Moore, Jr.. Clerk



Date:




                         Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 4 of 61
AO 440 (Rev. 06/12) Summons in a Civil Acti on


                                      UNITED STATES DISTRICT COURT
                                                               for the



  SAVE OUR CHILDREN TRUTH COMMISSION -                           )
MELODY RODGERS ; MALACHI CHAPMAN ; LAURIE                        )
 REYNOLDS ; TIJANA VIDANOVIC ; TERESA GOIN ;                     )
CECELIA EVERTEZ ; NATASHA LOACH ; SHANEQUA
                                                                 )
    AUSTJN;_MAHOGANY HI INTER ;DESIREE
                            Plaintiff(s)
                                                                 )
                                 V.
                                                                 )
                                                                 )
                                                                         Civil Action No.   '1: ddU \t-iS~L,
 THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                 )
KAMALA HARRIS ; XAVIER BECERRA ; MERRICK B.
                                                                 )
             GARLAND ; ET. AL.
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)
                                            XAVIER BECERRA
                                            THE U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                            200 Independence Avenue , SW Washington, DC 20530-0001




          A laws uit has been fil ed against you.

         Within 2 1 days after service of this summons on you (not counting the day you recei ved it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ .
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rul e 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plai ntiffs attorney,
whose name and address are: SAVE OUR CHILDREN TRUTH COMMISSION
                                           C/O MELODY RODGERS
                                           201 W. BAYSHORE BLVD
                                           JACKSONVILLE, NC 28540



        If you fai l to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You a Isa mu st file yo ur answer or motion with the court.




Date:




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 5 of 61
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     I,
              AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                                     UNITED STATES DISTRICT COURT
                                                                                 for the



                SAVE OUR CHILDREN TRUTH COMMISSION -                               )
              MELODY RODGERS ; MALACHI CHAPMAN ; LAURIE                            )
               RE YNOLDS ; TIJANA VIDANOVIC ; TERESA GOIN ;                        )
              CEC ELIA EVERTEZ ; NATASHA LOACH ; SHANEQUA
                                                                                   )
                  .AUSTJN; MAHOGAN Y HIJNTER ;DESlR EE
                                           Plaintiff(s)
                                               V.
               THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                                   )
                                                                                   )
                                                                                   )
                                                                                   )
                                                                                           C iv il Action   o.   ,~~CJJ \'1e,.+'L
              KA MALA HARRIS ; XAVIER BECERRA; MERRICK B.
                                                                                   )
                         - GARLAND ; ET. AL.
                                                                                   )
                                                                                   )
I    II                                   Defendant(s)                             )
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     i
                                                                  SUMMONS IN A CML ACTION

              To: (Defend~nt\ ~wme and address)
                                                           MERR ICK B GARLAND
                                                           U.S. Department of Justice 950 Pennsylvania Avenue ,
                                                           NW Washington , DC 20530-0001




                        A lawsuit has been fil ed again st you.

                       Within 2 1 days after service of thi s sum mons on you (not counting the day you received it) - or 60 days if you
              are the United States or a United States agency, or an officer or empl oyee of th e United States described in Fed. R. C iv.
              P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached comp laint or a moti on under Rul e 12 of
              the Federa l Rules of C ivi l Procedure. The an swer or motion must be served o n the pla intiff or plaintiff's attorney,
              whose name and address are: SAVE OUR CHILDREN TRUTH COMMISSION
    11                                                    C/0 ME LODY RODGERS
    I     I
                                                          201 W. BAYS HORE BLVD
                                                          JACKSONVILLE, NC 28540



                       If you fa il to respond, j udgment by default wi ll be entered aga inst you for the re li ef demanded in the complaint.
              Yo u also mu st fi le you r answer or motion w ith the court.


                                                                                              Peter A. Moore, Jr., Clertc
                                                                                               CLERK OF COURT


               Date:
                                                                                                  ~ ~,lo~ ~.

                                      Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 6 of 61
.,   1    AO 440 (Rev. 06/12) Summons in a Civi l Action


                                                 UNITED STATES DISTRICT COURT
                                                                         for the



            SAVE OUR CHILDREN TRUTH COMMISSION -                           )
          MELODY RODGERS ; MALACHI CHAPMAN ; LAURIE                        )
           REYNOLDS ; TIJANA VIDANOVIC ; TERESA GOIN ;                     )
          CECELIA EVERTEZ ; NATASHA LOACH ; SHANEQUA
                                                                            )
            _ AHSilN;_MAHOGANY HlJNTER ;DESIBEE
                                       Plaintiff(s)
                                                                            )

                                           V.
                                                                            )
                                                                            )
                                                                                   C ivi l Action   o.   '7.,'~C,,JJ I'"78 ,f'L
           THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                            )
          KAMALA HARRIS ; XAVIER BECERRA ; MERRICK B.
                                                                            )
                       GARLAND ; ET. AL.
                                                                            )
                                                                            )
                                      Defendant(s)                          )
 I   I.


                                                             SUMMONS IN A CIVIL ACTION

          To: (Defendant's name and address)           JERRY MILNER
                                                       DIRECTOR OF THE CHILDREN'S BUREAU FOR THE ADMIN OF CHILDREN AND
                                                       FAMILY SERVICES
                                                       THE U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                                       330 C. St. SW Washington , DC 20001



                    A lawsuit has been fi led against you.

                   Within 2 1 days after serv ice of this su mmons on you (not cou nting the day yo u received it)- or 60 days if you
          are the United States or a United States agency, or an officer or emp loyee of the United States described in Fed. R. C iv.
          P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached com plai nt or a motion under Rule 12 of
          th e Federal Rules of Civil Procedure. The answer or motion mu st be served on the plaintiff or pla intiffs attorney,
          whose name and address are: SAVE OUR CHILDREN TRUTH COMMISSION
                                                      C/O MELODY RODGERS
                                                      201 W. BAYSHORE BLVD
                                                      JACKSONVILLE, NC 28540



                 If you fail to respond, judgment by defau lt wi ll be entered aga inst you fo r the re lief demanded in the complaint.
          You also mu st fi le your answer or motion with the court.

                                                                                      ,.,., A. Moora, Jr., Clerk
                                                                                       CLERK OF COURT


           Date:
                                                                                    ~                ;;~,.,~ '

                                  Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 7 of 61
j !f jl            ' AO 440 (Rev . 06/12) Summons in a Civil Action


                                                           UNITED STATES DISTRICT COURT
                                                                                    fo r th e



I.I                   SAVE OUR CHILDREN TRUTH COMMISSION -                             )
                    MELODY RODGERS ; MALACHI CHAPMAN ; LAURIE                          )
                     REYNOLDS ; TIJANA VIDANOVIC ; TERESA GOIN ;                       )
                    CECELIA EVERTEZ ; NATASHA LOACH ; SHANEQUA
                                                                                       )
                        AUSTlf\J ;_MAl:lOG ANY HLJNTER;DES IBEE
                                                 Plaintiff(s)
                                                                                       )

I 11:     11                                          V.
                                                                                       )
                                                                                       )
                                                                                                C iv il Acti on No.   '? !~CU n8 +l
                     THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                                       )
                    KA MALA HARRIS ; XAVIER BECERRA ; MERRICK B.
                                                                                       )
                                 GARLAND ; ET. AL.
                                                                                       )
                                                                                       )
                                                Defendant(s)                           )
ll
                                                                        SUMMONS IN A CIVIL ACTION

                    To: (Defendant 's name and address)
                                                                 ASSISTANT SECRETARY FOR THE ADMIN OF CHILDREN AND FAMILY
                                                                 SERV ICES
                                                                 THE U.S. DE PARTMENT OF HEALTH AND HUMAN SER VICES
                                                                 330 C. St. SW Washington , DC 20001



                               A laws uit has been filed against you.

                             Within 21 days after service of this sum mo ns on you (not count ing the day you received it) - or 60 days if you
                    are the United States or a Un ited States agency , o r an officer o r e mployee of the Un ited States described in Fed. R. Civ.
                    P. 12 (a)(2) or (3)-you must serve on the plai ntiff a n answer to the attached compl ai nt or a motion under Ru le 12 of
                    the Federal Rules of C iv il Procedure. The answer or motio n mu st be served o n the pl ai ntiff or plaintiffs attorney,
                    whose name and address are: SAVE OUR CHILDREN TRUTH COMMISSION
                                                                C/O MELODY RODGERS
   r                                                            201 W. BAYSHORE BLVD
                                                                JACKSONVILLE , NC 28540



                            If you fai l to respond, j udgment by default w ill be entered again st you for the re lief demanded in the complaint.
                    You a lso mu st file you r answer or motion with the court.

                                                                                                 Peter A. Moore, Jr.. Cletk
                                                                                                    CLERK OF COURT


   I'               Date:
                                                                                                  & ~f!!!¢c,a
      j        I                             Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 8 of 61
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                          )
MELODY RODGERS ; TIJANA VIDANOVIC ; RONISHA                         )
    PETERS ; KATHRINE THOMAS ; DESIREE                              )
       PETERSON ; WILNIESA TURNER
                                                                    )
                            Plaintiff(s)
                                                                    )
                                V.
                                                                    )
                                                                    )
                                                                             C ivil Action No.    -?Be) CJ.-}/?8 ~L
 UNITED STATES , JOE BIDEN, KAMALA HARRIS ,
                                                                    )
XAVIER BECERRA, MERRICK B. GARLAND ; GAVIN
                                                                    )
 NEWSOM; JERRY BROWN ; ELENA KOUNALIKIS ;
  JACKEY LACEY;ROB BONTO ; LOS ANGELES ;
                                                                    )
      RIVERSIDE ;MONTEREY COUNTIES                                  )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) GAVIN NEWSOM
                                           1021 0 ST.
                                           Suite 9000
                                           Sacramento, CA 95814




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R . Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion mu st be served on the plaintiff or plai ntiff s attorney,
whose name and address are:
                                           SAVE OUR CHILDREN TRUTH COMMISSION
                                           C/O KATHRINE THOMAS
                                           1641 Bunker Hill Way
                                           Salinas, California 93902


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                            Peter A. Moore' Jr- Cfe,t _
                                                                                 CLERK'OF COURT



Date     _f_O/~~                                                                 ~r::ftd!~~,,
                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 9 of 61
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               fo r the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                        )
MELODY RODGERS ; TIJANA VIDANOVIC ; RONISHA                       )
        PETERS ; KATHRINE THOMAS                                  )
                                                                  )
                                                                  )

                                                                                                7_, ~cu rn ~ l
                            Plaintiff(s)
                                                                  )
                                V.                                        C iv il Acti on No.
                                                                  )
 UNITED STATES , JOE BIDEN , KAMALA HARRIS ,
                                                                  )
XAVIER BECERRA, MERRICK B. GARLAND ; GAVIN
                                                                  )
 NEWSOM ; JERRY BROWN ; ELENA KOUNALIKIS ;
  JACKEY LACEY;ROB BONTO ; LOS ANGELES ;
                                                                  )
      RIVERSIDE ;MONT EREY CO UNT IES                             )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) JERRY BROWN
                                       1021 0 ST.
                                       Suite 9000
                                       Sacramento , CA 95814




          A lawsuit has been fi led against you.

         Within 2 1 days after serv ice of this summons o n yo u (not count ing the day you received it) - or 60 days if you
are the U nited States or a U n ited States agency, o r an officer o r e mpl oyee of the U nited States described in Fed . R. C iv.
P. 12 (a)(2) o r (3)-you m ust serve on the pla intiff an answer to the attached compl a int o r a motion under Rule 12 of
the Federa l Rules of C ivi l Procedure. The a nswer or motio n mu st be served o n the pla int iff or p laintiffs attorney,
whose name and address are:
                                           SAVE OUR CHILDREN TRUTH COMMISSION
                                           C/O TIJANA VIDANOVIC
                                           13066 Gridley St.
                                           Sylmar, California 91342


        If you fail to respo nd, j udgm ent by default w ill be entered agai nst you fo r the re lief demanded in the compla int.
You a lso must fi le your answer or motion with the court.




Date:




                       Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 10 of 61
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                       )
MELODY RODGERS; TIJANA VIDANOVIC ; RONISHA                       )
        PETERS ; KATHRINE THOMAS                                 )
                                                                 )
                            P/aintiff(s)                         )
                                V.
                                                                 )
                                                                 )
                                                                         Civil Action No.    'J !aol~ /18 -{;l
 UNITED STATES, JOE BIDEN, KAMALA HARRIS,
                                                                 )
XAVIER BECERRA, MERRICK B. GARLAND; GAVIN
                                                                 )
 NEWSOM; JERRY BROWN ; ELENA KOUNALIKIS;
                                                                 )
  JACKEY LACEY;ROB BONTO; LOS ANGELES ;
      RIVERSIDE ;MONTEREY COUNTIES                               )
                           Defendant(s)                          )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) ELENI KOUNALIKIS
                                       1021 0 St.
                                       Suite 8730
                                       Sacramento , CA 95814




          A lawsuit has been filed against you.

         Within 21 days after service of this sum mons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                           SAVE OUR CHILDREN TRUTH COMMISSION
                                           C/0 TIJANA VIDANOVIC
                                           13066 Gridley St.
                                           Sylmar, California 91342


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                          Peter A. Moore, Jr., Clede
                                                                             CLERK OF COURT


Date:
                                                                             ~ fM~i~L~
                       Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 11 of 61
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES D ISTRICT COURT
                                                                for the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                         )
NATASHA LOACH ; EMILY O'DELL; WILLIAM O'DELL;                      )
      LORIBETH AARON ; TINA BRANDON                                )
                                                                   )
                            Plaintiff(s)
                                                                   )

                     V.
                                                                   )
                                                                   )
                                                                          Civil Action No .   7 :~     Cv /78-fl
 UNITED STATES, JOE BIDEN , KAMALA HARRIS ,
                                                                   )
XAVIER BECERRA, MERRICK B. GARLAND; GREG
                                                                   )
  ABBOT; DAN PATRICK ; KEN PAXTON ; JAMIE
    MASTERS ; BELL, MCLENNAN , & WICHITA
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                  SUMMONS IN A CIVIL ACTION

To : (Defendant 's name and address)
                                       GREGABOTT
                                       1100 San Jacinto Blvd.
                                       Austin , Texas, 78701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                           SAVE OUR CHILDREN TRUTH COM MISSION
                                           C/O NATASHA LOACH
                                           400 Liberty St.
                                           Apt. 105
                                           Killeen , Texas 76543

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                          Peter A. Moore, Jr., Clelk
                                                                              CL        OF COURT
                               ~
Date:    _          f   ()/1cxJ»
                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 12 of 61
AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                  fo r the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                           )
NATASHA LOACH ; EMILY O'DELL; WILLIAM O'DELL;                        )
      LORIBETH AARON ; TINA BRANDON                                  )
                                                                     )
                             Plaintiff(s)
                                                                     )
                                 V.
 UNITED STATES, JOE BIDEN , KAMALA HARRIS,
                                                                     )
                                                                     )
                                                                             C ivil Action No.    1!~ Ct} /18-f'(_
                                                                     )
XAVIER BECERRA, MERRICK B. GARLAND ; GREG
                                                                     )
  ABBOT; DAN PATRICK ; KEN PAXTON ; JAMIE
                                                                     )
    MASTERS ; BELL, MCLENNAN , & WICHITA
                 COUNTIE ;                                           )
                           Defendant(s)                              )

                                                   SUMMONS IN A CML ACTION

To: (Defendant 's name and address) DAN PATRICK
                                        1100 San Jacinto Blvd .
                                        Austin , Texas 78701




          A lawsuit has been fil ed against you .

         Within 2 1 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. C iv .
P. 12 (a)(2) or (3) - you mu st serve on the plaintiff an answer to the attached compla int or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion mu st be served on the pla intiff or plaintiffs attorney,
whose name and address are:
                                            SAVE OUR CHILDREN TRUTH COMMISSION
                                            C/O WILLIAM AND EMILY O'DELL
                                            670 Elmwood Dr.
                                            Woodway, Texas 76712


       If you fa il to respond, judgment by default w ill be entered against you fo r the re lief demanded in the complaint.
You also mu st fi le your answer or motion w ith the co urt.

                                                                               Peter A. Moore, Jr., Clerk
                                                                                 ~               OURT

 Date:
                                                                                              s;g~/::/ti(~,
                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 13 of 61
AO 440 (Rev . 06/12) Summons in a Civil Acti on


                                       UNITED STATES DISTRICT COURT
                                                                  for the



  SAVE OUR CHILDREN TRUTH COMMISSION -                               )
RENESHA TOMLIN , LATASHA WOOLRIDGE, KENYA                            )
            CLOUD AND MORE                                           )
                                                                     )
                                                                     )
                             Plaintifl(s)
                                  V.
 THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                     )
                                                                     )
                                                                     )
                                                                             C ivil Action No., ~         Od-.CJJ   ,,eFi
KAMALA HARRIS ; XAVIER BECERRA ; MERRICK B.
                                                                     )
             GARLAND; ET. AL.
                                                                     )
                                                                     )
                            Defenda nt(s)                            )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)
                                        SUSANA MARTINEZ -Former Governor
                                        8301 Jefferson St NE
                                        Ste A
                                        Albuquerque, NM 87113



          A laws uit has been filed against you.

         Within 2 1 days after serv ice of this summ ons on yo u (not co unting the day yo u recei ved it)- or 60 days if you
are the United States or a United States agency, or an officer or empl oyee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the pla intiff an answer to the attached complai nt or a motion under Rule 12 of
the Federal Rules of Civi l Procedure. The answer or motion must be served o n the plaintiff or plaintiffs attorney,
whose name and address are: SAVE OUR CHILDREN TRUTH COMMISSION
                                            C/O RENESHA TOMLIN
                                            1501 Edith Blvd SE ,
                                            Apartment 3
                                            Albuquerque , New Mexico 87102


        If you fai l to respond, judgment by default wi ll be entered aga inst you for the relief demanded in the complaint.
You a lso mu st fi le yo ur answer or motion wi th the court.

                                                                             Peter A. Moore, Jr., Clerk
                                                                                CL~            ~OURT


Date:
                                                                                   ~':b{!!Li!Y:"a-
                                                                                              -
                       Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 14 of 61
AO 440 (Rev. 06/ 12) Summons in a Civil Acti on


                                       UNITED STATES DISTRICT COURT
                                                                  for the



  SAVE OUR CHILDREN TRUTH COMMISSION -                              )
RENESHA TOMLIN , LATASHA WOOLRIDGE, KENYA                           )
            CLOUD AND MORE                                          )
                                                                    )
                             Plaintiff(s)
                                                                    )
                                  V.
                                                                    )
                                                                    )
                                                                            Civil Action No .   7: ~nB ,Pl
 THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                    )
KAMALA HARRIS ; XAVIER BECERRA ; MERRICK B.
                                                                    )
             GARLAND ; ET. AL.
                                                                    )
                                                                    )
                            Defendant(s)                            )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)
                                        MICHELLE LUJAN-GRISHAW -Governor
                                        490 Old Santa Fe
                                        Trail Room
                                        Santa Fe, NM 87501



           A lawsuit has been filed against you.

         Within 2 1 days after service of this summons on you (not counting the day yo u received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-yo u must serve on the plaintiff an answer to the attached complaint or a motion under Rul e 12 of
the Federal Rules of Civi l Procedure. The answer or motion must be served on the plaintiff or plaintiff' s attorney,
whose name and add ress are: SAVE OUR CHILDREN TRUTH COMMISSION
                                            C/O RENESHA TOMLIN
                                            1501 Edith Blvd SE,
                                            Apartment 3
                                            Albuquerque, New Mexico 87102


        If you fail to respond, judgment by defau lt will be entered agai nst you for the relief demanded in the complaint.
You also must file yo ur answer or motion with the court.




 Date:




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 15 of 61
 0 4-10 (Re, . 06/ 12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                      for the



  SAVE OUR CHILDREN TR UTH COMMISSION -                                 )
          STEVEN BRADLEY, et al                                         )
                                                                        )
                                                                        )
                                                                        )
                              Plaintif/M
                                  V.
                                                                        )
                                                                        )
                                                                                C ivil Action No.    7:obl.CV na ~
 THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                        )
KAMALA HARRIS ; XAVIER BECERRA ; MERRICK B.
                                                                        )
GARLAND ; DOUG DUCEY ET. AL. , SCOTT COUNRT
                                                                        )
                                                                        )
                             /Jej endant(s)                             )

                                                     SUMMO S IN A CIVIL ACTION

To: (l)e/endant 's name and address) DOUG DUCEY
                                           1700 W. Washington St. ,
                                           Phoenix, Arizona 85007




          A lawsuit has been filed against you.

         Within 2 1 days after service of this summons on you (not counting the day yo u received it) - or 60 days if you
are th e United States or a United States agency, or an officer or emp loyee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you mu st serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rul es of Ci vil Procedure. The answer or motion mu st be served on the plaintiff or plaintiff's attorney,
whose name and address are: SAVE OUR CHILDREN TRUTH COMMISSION
                                           C/O STEVEN BRADLEY
                                           22036 N. Black Canyon Highway
                                           Lot 28, Phoenix Arizona



         If yo u fa il to res pond, j udgment by default wi ll be entered against you for the relief demanded in the complaint.
You a lso must fil e your answer or motion with the court.


                                                                                 Peter A. Moore, Jr., Clerk
                                                                                    CLERK OF COURT

                                                                                             Q_,J              '
Date:
                                                                                         ~;;?._               ~




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 16 of 61
/\0 440 (Rev. 06/ 12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                for the



SAVE OUR CHILDRE N TRUTH COMMISSION - JOY                         )
  TYLER AND ROBERT LISBY JR .; STEPHANIE                          )
        HUMPHRIES ; APRIL FOX ; et al                             )
                                                                  )
                             Plaintiff(s)
                                                                  )
                                  V.
                                                                  )
                                                                   )
                                                                          C ivi l Action No. /     ! ~ J78fl
 THE UNITED STATES OF AMER ICA; JOE BIDEN ,
                                                                   )
KAMALA HARRIS ; XAVIER BECE RRA ; MERRICK B.
                                                                   )
 GARLAND ; RON DESANTIS ; ST LUCIE COUNTY;
                                                                   )
  MARION COUNTY; MIAMI-DADE COUNTY; KIDS
- - - - - ----le,-Gl.>l::m.AL--l-NC--                              )
                            Defe ndant(s)                          )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) RON DESANTIS
                                        400 S. MONROE ST.
                                        TALLAHASSEE , FLORIDA 32399




           /\ lawsu it has been fil ed again st you.

         Within 21 days after service of thi s summons on you (not counting the day you received it) - or 60 days if you
are the Un ited States or a Un ited States agency, or an officer or emp loyee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached comp laint or a motion under Rule 12 of
the Federal Rules of Civi l Procedure. The answer or motion mu st be served on the plaintiff or plaintiff s attorney,
whose nam e and address are: SAVE OUR CHILDREN TRUTH COMMISSION
                                            C/O APRIL FOX
                                            3054 NW 203 LANE
                                            MIAMI GARDENS , FLORIDA 33056



         If you fail to respond, judgment by default will be entered agai nst you for the relief demanded in the complaint.
 You also mu st file yo ur answer or motion with the court.

                                                                          Peter A. Mc,ore, Jr., Cletk
                                                                              CLERK OF COURT


 Date:
                                                                                 ~                ,~ (~""'

                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 17 of 61
AO 4-10 (Rev. 06/ 12) Summons in a C ivil Acti on


                                         UNITED STATES DISTRICT COURT
                                                                 for the




   SAVE OUR CHILDREN TR UTH COMM ISSION -                          )
             JESSICA KIRBY; et al                                  )
                                                                   )
                                                                   )
                               Plaintiff(s)
                                                                   )

                                   V.
                                                                   )
                                                                   )
                                                                           C ivil Action     o.   7! a;).Cl} /70(:°l
 THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                   )
KAMALA HARRIS ; XAVIER BECERRA ; MERRICK B.
                                                                   )
  GARLAND ; JERRY MILNER ; et al ; TOM WOLF ;
                                                                   )
            ALLEGH ANY COUNTY
                                                                   )
                             /Jejendant(s)                         )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)
                                          TOM WOLF
                                          508 MAIN CAPITAL BUILDING
                                          HARRISBURG , PENNSYLVANIA 17120




           A laws uit has been fi led against you .

         W ithin 21 days after service of thi s summons on yo u (not co unting the day yo u received it) - or 60 days if you
are the Un ited States or a United States agency, or an officer or emp loyee of the United States described in Fed. R. Civ .
P. 12 (a)(2) or (3) - yo u mu st serve on the plaintiff an answer to the attached complaint or a motion under Ru le 12 of
the Federa l Rul es of C iv il Procedure. The answer or motion must be served on the plaintiff or plai ntiff's attorney,
whose name and add ress are:
                                              SAVE OU R CHILDREN TRUTH COMMISSION
                                              C/O JESS ICA KIRBY
                                              P.O. Box 5599
                                              PITTSBURG H, PENNSYLVANIA 15207


         If you fa il to respond, j udgment by default will be entered against you for the relief demanded in the complaint.
Yo u a lso mu st file yo ur answer or motion w ith the court.

                                                                           PGter A. Moore, Jr., Clerk



 Date :




                         Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 18 of 61
AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES D ISTRICT COURT
                                                                fo r the




  SAVE OUR CHILDR EN TRUTH COMMISSION -                            )
 LAU RIE REYNO LDS ; KRISTEN CLARK-H AS SELL ;                     )
            KESHIA HOLLIMAN et al                                  )
                                                                   )
                            Plaintif( (s)
                                                                   )

                                 V.
                                                                   )
                                                                   )
                                                                           C ivil Acti on No .     7 !~C<) / 78Fl
 THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                   )
KA MALA HARRIS ; XAVIER BECERRA ; MER RIC K B.
                                                                   )
 GARLAND ; JERRY MILNER ; et al; BR IAN KEM P;
     CAMDEN COUNTY; LAURENS COU NTY
                                                                   )
                --- - - - - - - - - - -                            )
                           Def enda nt(s)                          )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant ·s name and address)
                                        GOVER NOR BRIAN KEMP
                                        206 Washington St. ,
                                        11 State Capitol
                                        Suite 203
                                        Atlanta, Georgia 30334

          A lawsuit has been fi led again st you .

         Within 2 1 days after serv ice of th is summons on you (not counting the day you rece ived it) - or 60 days if yo u
are the United States or a United States agen cy, or an offi cer or empl oyee of th e United States described in Fed. R. C iv.
P. 12 (a)(2) or (3) - you mu st serve on th e plaintiff an answer to the attached compl a int or a motion und er Rul e 12 of
the Federa l Rul es of C ivil Procedu re. The answer or moti on mu st be served on the pla intiff or plaintiff's attorn ey,
whose name and addres are:
                                            SAVE OUR CHILDREN TRUTH COMMISS ION
                                            C/O KES HIA HOLLIMAN
                                            103 GALTIN DR .
                                            206A3
                                            Dubli n Georgia, 31027
          If yo u fa il to res pond , j udgment by defaul t wi ll be entered aga inst yo u fo r the re li ef demanded in the compla int.
Yo u a lso must file yo ur answer or motion w ith the court.

                                                                            Petet t-.. W\O()te, .k.. c\efk
                                                                               CLERK OF COURT


 Date :




                       Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 19 of 61
.,   AO 440 (Rev. 06/12) Summons in a Civi l Acti on
I
                                            UNITED STATES DISTRICT COURT
                                                                         for the




        SAVE OUR CHILDREN TRUTH COMMISSION -                               )
               CONNIE L. JOHNSON et al                                     )
                                                                           )
                                                                           )
                                  Plainlif/(s)                             )

                                       V.
      THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                           )
                                                                           )
                                                                                   C iv il Action No.   7 ! ~d-eLJ /78Fl
                                                                           )
     KAMALA HARRIS ; XAVIER BECERRA ; MERRICK B.
                                                                           )
       GARLAND ; JERRY MILNER ; BILL LEE ; BLOUNT
                                                                           )
                       COUNTY
                                                                           )
                                 /Jefe11da111(s)                           )

                                                         SUMMO S IN A CIVIL ACTION

     To: (/Jej endant ·s name and addres5)
                                              BILL LEE
                                              State Capitol
                                              First Floor
                                              Suite 600
                                              Dr. Martin Luther King Jr. Blvd
                                              Nashville, Tennessee 37243
                A lawsuit has been filed again st you .

              Within 2 1 days after service of this summons o n you (not cou nting th e day you rece ived it) - or 60 days if you
     are the United States or a United States agency , or an officer or emp loyee of the United States described in Fed. R. Civ.
     P. 12 (a)(2) or (3) - you mu st serve on the plaintiff an answer to the attached complaint or a motion under Rul e 12 of
     the Federal Rul es of C iv il Procedure. The answer or motion mu st be served on the plaintiff or plaintiff s attorney,
     whose nam e and ad dress are:
                                                 SAVE OUR CHILDREN TRUTH COMMISSION
                                                 C/O CONNIE L. JOHNSON
                                                 700 Hollywood Rd.
                                                 Knoxville.Tennessee 37919


              If you fail to respond, j udgment by default will be entered aga inst yo u for the relief demanded in the complai nt.
     Yo u also must fi le yo ur answer or motion with the court.

                                                                                   Peter A. Moore, Jr., ctertc
                                                                                       CLERK OF COURT


     Date:




                             Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 20 of 61
AO 440 (Rev. 06/ 12 ) Summons in a Civil Action



                                         U NITED STATES DISTRICT COURT
                                                                  for the



  SAVE OUR CHILDREN TRUTH COMMISSION -                               )
RAYMOND SIPULT; RUSS CODY; GLENDA CODY;                              )
KEONA BRADLY; AMANDA HUNT; JOE STEINKE et                            )
                   al
                                                                     )
                             Plaintif{(s)
                                                                     )
                                                                     )
                                   V.                                       Civil Action No.
                                                                     )
 THE UNITED STATES OF AM ERICA ; JOE BIDEN ,
                                                                     )
KAMALA HARRIS ; XAVIER BEC ERRA ; MERRICK B.
                                                                     )
  GARLAND ; JERRY MILNER ; KATHLEEN LAURA
                                                                     )
KE LLY; WI LLI AM CLARK; ST. FR ANCIS MINISTRIES
                                                                     )
                            /)e{e111/c1111(s)                        )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)
                                           KATHLEEN LAURA KELLY
                                           State House 300 South West 10th Ave
                                           #24 1s
                                           Topeka, Kansas 66612



           A lawsuit has been filed against you.

         With in 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the nited States or a United States agency, or an officer or employee of the United States descr ibed in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federa l Rul es of Civil Proced ure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                            SAV E OUR CHILDREN TRUTH COMMISSION
                                            C/O RAYMOND SIPULT
                                            131 4 N. Oliver Ave.
                                            P.O BOX 20571
                                            Wich ita, Kansas 67208
         If you fail to respond, judgment by default will be entered against you for the relief demanded in the compla int.
You a lso mu st fi le you r answer or motion with the court.




Date:




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 21 of 61
i\O 440 (Rev. 06/ 12) Summons in a Civil Action


                                       U NITED STATES DISTRICT COURT
                                                                      for th e



SAVE OUR CHILDREN TRUTH COMM ISSION - et al                               )
 MALAC HI CHAPMAN , SHANEQUA B AUSTIN, LI SA                              )
             CASH , DMITRI CAS H                                          )
                                                                          )
                             Plainti[f(s)
                                                                          )
                                  V.
                                                                          )
                                                                          )
                                                                                 C iv il Acti on   o.   7.' Od,...C,p /7e)Fl
 TH E UN ITED STATES OF AM ER ICA; JOE BIDEN ,
                                                                          )
KAMALA HARRIS ; XAVIER BEC ERRA; MERRICK B.
                                                                          )
  GARLAND ; JERRY MILNER ; KATHY HOC HU L;
                                                                          )
       KINGS COUNTY; MO NROE COUNTY
                                                                          )
                            Oe/e11dant(s)                                 )

                                                      SUMMONS IN A CIVIL ACTION

To: (Defendant's namC' and addrC'ss/
                                            KATHY HOCHUL
                                            NYS State Capitol Bu ilding
                                            Albany, New York 12224




           A lawsui t has been fi led against you.

         Within 2 1 day s after service of this su mmons on yo u (not co unting th e day yo u rece ived it)- or 60 days if you
are the Uni ted States or a United States agency, or an officer or empl oyee of the United States described in Fed. R. C iv.
P. 12 (a)(2) or (3) - you must serve on the plai ntiff an answer to the attached co mplaint or a moti on under Ru le 12 of
th e Federal Rules of C iv il Proced ure . The answer or mot ion mu st be served on th e pla intiff or plaintiff s attorney,
w hose name and address are:
                                            SAVE OUR CHILDREN TR UTH COMMISSION
                                            C/O MALACHI CHAPMAN
                                            470 Dekalb Ave Apt
                                            #SC
                                            Brooklyn , New York 11205
        If yo u fa il to res pond, judgment by defa ult will be entered aga inst you fo r the rel ief demanded in the compla int.
You also mu st fi le your an swer or motion with the coun.

                                                                                 Peter A. Moore, Jr., clelt(
                                                                                      CLE          FCOURT


Date:                                                                                                   takCdl~
                                                                                                    ' ignature of Clerk or Deputy Cieri..
                                                                                                                               ,---



                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 22 of 61
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                     )
MELODY RODGERS ; TIJANA VIDANOVIC ; RONISHA                    )
    PETERS ; KATHRINE THOMAS ; DESIREE                         )
       PETERSON ; WILNIESA TURNER
                                                               )
                            Plaintiff(s)
                                                                   )

                                V.
 UNITED STATES, JOE BIDEN, KAMALA HARRIS,
                                                                   )
                                                                   )
                                                                       Civil Action No.     7 ~a;J.CJ) /78-(:.l
                                                                   )
XAVIER BECERRA, MERRICK 8. GARLAND; GAVIN
                                                                   )
 NEWSOM; JERRY BROWN ; ELENA KOUNALIKIS ;
                                                                   )
  JACKEY LACEY; ROB BONTO ; LOS ANGELES ;
      RIVERSIDE ;MONTEREY COUNTIES                                 )
                           Defendant(s)                            )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) JACKEY LACEY
                                       300 S. Spring St.
                                       Los Angeles CA 90013-1230




          A lawsuit has been filed against you.

         Within 2 1 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a U nited States agency, or an officer or employee of the United States descri bed in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff' s attorney ,
whose name and address are:
                                           SAVE OUR CHILDREN TRUTH COMMISSION
                                           C/0 TIJANA VIDANOVIC
                                           13066 Gridley St.
                                           Sylmar, California 91342


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                       Peter A. Moore, Jr., Clelk
                                                                            CLERK OF COURT


 Date:
                                                                          ~'r:ldt~C/e,-k               E!




                       Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 23 of 61
AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                         )
MELODY RODGERS ; TIJANA VIDANOVIC ; RONISHA                        )
    PETERS ; KATHRINE THOMAS ; DESIREE                             )
       PETERSON ; WILNIESA TURNER
                                                                   )
                            Plaintiff(s)
                                                                   )

                                 V.
                                                                   )
                                                                   )
                                                                       C iv il Acti on No.   7 . a~w /78 R
                                                                                                     1


 UNITED STATES , JOE BIDEN , KAMALA HARRIS,
                                                                   )
XAVIER BECERRA, MERRICK B. GARLAND ; GAVIN
                                                                   )
 NEWSOM; JERRY BROWN ; ELENA KOUNALIKIS ;
                                                                   )
  JACKEY LACEY; ROB BONTO ; LOS ANGELES ;
      RIVERSIDE ;MONTEREY COUNT IES                                )
                           Defendant(s)                            )

                                                  SUMMONS IN A CML ACTION

To: (Defendant 's name and address) ROB BONTO
                                       300 S. Spring St.
                                       Los Angeles CA 90013-1230




          A lawsuit has been fi led against you .

         W ithin 2 1 days after serv ice of this summons on yo u (not counting th e day yo u rece ived it) - or 60 days if you
are the United States or a United States agency, or a n officer or empl oyee of the U nited States described in Fed . R. C iv.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached compla int or a motion unde r Rule 12 of
the Federal Rules of C iv il Procedure . The a nswer or motion must be served on the pla intiff or p laintiffs attorney ,
whose name and address are:
                                           SAVE OUR CHILDREN TRUTH COMMISSION
                                           C/0 T IJANA VIDANOVIC
                                           13066 Gridley St.
                                           Sylmar, Californ ia 91342


       If you fail to respond, j udgment by default w ill be entered against you fo r the re lief demanded in the compla int.
You also mu st fil e your answer or motion with the court.

                                                                       Peter A. Moore, Jr., Cleltc
                                                                           CLERK OF COURT


                                                                                              ~(£)/ {<iv,
                                                                                         Signature of Clerk or Deputy Clerk




                       Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 24 of 61
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                         )
NATASHA LOACH ; EMILY O'DELL; WILLIAM O'DELL;                      )
      LORIBETH AARON ; TINA BRANDON                                )
                                                                   )
                            Plaintiff(s)                           )
                                V.
 UNITED STATES, JOE BIDEN , KAMALA HARRIS,
                                                                   )
                                                                   )     Civil Action No.   ? :~~CV /78 Pc
                                                                   )
XAVIER BECERRA, MERRICK B. GARLAND ; GREG
                                                                   )
  ABBOT; DAN PATRICK ; KEN PAXTON ; JAMIE
    MASTERS ; BELL, MCLENNAN , & WICHITA
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)
                                       KEN PAXTON ("PAXTON")
                                       P.O. Box 12548
                                       Austin , Texas 78711-2548




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a Un ited States agency, or an officer or employee of the United States described in Fed. R . Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion mu st be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                           SAVE OUR CHILDREN TRUTH COMMISSION
                                           C/O NATASHA LOACH
                                           400 Liberty St.
                                           Apt. 105
                                           Killeen , Texas 76543
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also mu st file your answer or motion with the court.

                                                                            Peter A. Moore, Jr., Clerk
                                                                            CLERK OF COURT




                       Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 25 of 61
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                           )
NATASHA LOACH ; EMILY O'DELL; WILLIAM O'DELL;                        )
      LORIBETH AARON ; TINA BRANDON                                  )
                                                                     )
                            P/aintiff(s)
                                                                     )
                                V.
 UNITED STATES, JOE BIDEN , KAMALA HARRIS,
                                                                     )
                                                                     )       C ivi l Action No .   7; ~C)J /7B Fl
                                                                     )
XAVIER BECERRA, MERRICK B. GARLAND ; GREG
                                                                     )
  ABBOT; DAN PATRICK ; KEN PAXTON ; JAMIE
    MASTERS ; BELL, MCLENNAN , & WICHITA
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) JAIMIE MASTERS
                                       P.O. Box 149030
                                       Austin , Texas 78714-9030




          A lawsuit has been filed against you .

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the Un ited States or a United States agency, or an officer or emp loyee of the Un ited States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rul e 12 of
the Federal Rules of Civi l Procedure. The answer or motion must be served on the plai ntiff or plaintiffs attorney,
whose name and address are:
                                           SAVE OUR CHILDREN TRUTH COMMISSION
                                           C/0 WILLIAM AND EMILY O'DELL
                                           670 Elmwood Dr.
                                           Woodway, Texas 76712


       If you fail to respond, judgment by default wi ll be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




 Date:




                       Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 26 of 61
AO 440 (Rev. 06/12) Summons in a Civil Acti on


                                       U NITED STATES DISTRICT COURT
                                                               fo r the



   SAVE OUR CHILDREN TRUTH COMMISSION -                           )
 t-' YMOND SIPULT; RUSS CODY; GLENDA CODY;                        )
KEONA BRADLY; AMANDA HUNT; JOE STEINKE et                         )
                                 al                               )
                             Plainll[/(s)
                                                                  )

                                 V.
 THE UNITED STATES OF AM ERICA ; JOE BIDE N,
                                                                  )
                                                                  )       Civil Action    0.   7:ad...M / 70 Fl
                                                                  )
KAMALA HARRIS ; XAVIER BEC ERRA ; MERRICK B.
                                                                  )
  GARLAND ; JERRY MILNER ; KATHLEEN LAURA
                                                                  )
KE LLY; WILLIAM CLARK ; ST. FR ANCIS MINISTRIES
                                                                  )
                            De.fendanl(s)                         )

                                                   SUMMONS IN A CIV IL ACTION

To:   (De.fendanl ·s name and address) WILLIAM CLARK
                                        PRESIDENT OF SAINT FR ANCI S MINISTRIES
                                        509 E. Elm St.,
                                        Sali ma, Kansas, 67401




          A laws uit has been ti led against_ ou.

         Within 2 1 days afte r service of this sum mons on yo u (not counting th e day you received it)- or 60 days if you
are the Uni ted States or a Uni ted States agency, or an officer or emp loyee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Proced ure. The answer or motion must be served on the plaintiff or pla intiffs attorney,
whose name and address are:
                                            SAVE OUR CHILDR EN TRUTH COMMISSION
                                            C/O RAYMOND SIPULT
                                            131 4 N. Oliver Ave.
                                            P.O BOX 20571
                                            Wichita, Kansas 67208
        If you fa ii to respond, judgment by defau It wi 11 be en tered aga inst you for the relief demanded in the compla int.
You also mu st ti le yo ur answer or motion with the cou 11.

                                                                          Peter A. Moote, Jr., Clerk
                                                                               CLERK OF COURT


Date:




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 27 of 61
AO 440 (Rev. 06/12) Summons in a Civi l Action


                                      UNITED STATES DISTRICT COURT
                                                              for the



  SAVE OUR CHILDREN TRUTH COMMISSION -                          )
RAYMOND SIPULT; RUSS COD Y; GLENDA CODY;                        )
KEONA BRADLY; AMANDA HUNT; JOE STEINKE et                        )
                   al
                                                                 )
                             Plaimi(f(s/
                                                                 )

                                 V.
                                                                 )
                                                                 )
                                                                        C iv il Action No.   7; aa. aJ f 78 FL
 THE UNITED STATES OF AME RICA ; JOE BIDEN ,
                                                                 )
KAMALA HARRIS ; XAVIER BEC ERRA ; MERRICK B.
                                                                 )
 GARLAND ; JERRY MILNER ; KATHLEEN LAURA
KELLY; WILLIAM CLARK ; ST. FRANCIS MINISTRIES
                                                                 )
                                                                 )
                            Defendanl(s/                         )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
                                        SA INT FRANCIS MINISTRIES
                                        4155 E. Harry St.
                                        Wic hita, Kansas, 67218




          A lawsuit has been filed against you .

         Within 2 1 days after service of this summons on you (not counting th e day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or empl oyee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you mu st serve on the pla in tiff an answer to th e attached complaint or a moti on under Rule 12 of
the Federal Rules of C iv il Proced ure. The answer or motion mu st be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                           SAVE OU R CHI LDREN TRUTH COMMISSION
                                           C/O RAYMOND SIPULT
                                           131 4 N. Oliver Ave .
                                           P.O BOX 20571
                                           Wich ita, Kansas 67208

       If you fail to respo nd, judgment by default wi ll be entered against you for the relief dem anded in the comp laint.
You also mu st fi le your answer or moti on with th e court.

                                                                        Pet.er A. Moore, Jr., Clefk




 Date :




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 28 of 61
AO 440 ( Rev . 06/ 12) Summons in a Civil Acti on


                                         U NITED STATES DISTRICT COURT
                                                                     for the




SAVE OUR CHILDREN TRUTH COMM ISS ION - JOY                             )
  TYLER AND ROBERT LISBY JR .; STEPHANIE                               )
     DENISE HUMPHRIES ; APR IL FOX ; et al                             )
                                                                       )
                               Plaintiff(s)
                                                                       )

                                   V.
                                                                       )
                                                                       )
                                                                               C iv il Action No.    7:~t!JJ f78Fl
 THE UNITED STATES OF AME RICA ; JOE BIDE N,
                                                                       )
KAMALA HARRIS ; XAVIER BECE RRA ; MERRICK B.
                                                                       )
 GARLAND ; RON DESANTIS ; ST LUCIE COUNTY;
                                                                        )
 MARION COUNTY; MIAMI-DADE COUNTY; KIDS
               CENT~AL-lNC.                                             )
                             Defendant(s)                               )

                                                     SUMMONS IN A CIVIL ACTION

To: rDefendan1 ·.1· name and address) KIDS CENTRAL INC Aka THE CENTERS INC
                                          90 1 Industrial Dr.
                                          Suite 200,
                                          Wildwood , Florida 34785




           A lawsuit has been filed against yo u.

         Within 21 days after service of this summons on yo u (not counting the day you received it) - or 60 days if you
are the Un ited States or a United States agency, or an officer or employee of the United States described in Fed. R. C iv .
P. 12 (a)(2) or (3) - you must serve on the plai ntiff an answer to the attached complaint or a moti on un der Ru le 12 of
the Federa l Rules of Civ il Proced ure. The answer or motion mu st be served on the plaintiff or pla intiff s attorney ,
w hose name and address are:
                                              SAVE OUR CHILDREN TRUTH COMMISSION
                                              C/O STEPHAN IE DENISE HUMPHRIES
                                              13083 HUNTINGTON WOODS AVE
                                              Spring Hill, FLORIDA 34609


         If yo u fa il to respond, judgment by default wi ll be en tered again st you for the relief dem anded in the complaint.
You a lso mu st file yo ur answer or motion with the court.

                                                                               Peter A. Moore, Jr., C1ertc.
                                                                                   CLERK OF COURT


Date:




                         Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 29 of 61
AO 440 (Re\. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                  fo r the



   SAVE OUR CHILDREN TR UTH COMMISSION -                             )
           STE VEN BRADLEY, et al                                    )
                                                                     )
                                                                     )
                            Plai11tifl(s)                            )

                                 V.
 THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                     )
                                                                     )       Civil Act ion No.   7     .'~Gt)/ ")8 Fl
                                                                     )
KAMALA HARR IS ; XAVIER BECERRA ; MERRICK B.
                                                                     )
GARLAND ; DOUG DUCEY ET. AL. , SCOTT COUNRT
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (l)efenda111 ·.1· name and address) Maricopa County
                                        301 W. Jeffeson St.
                                        Phoenix, Ari zona 85003




          A laws uit has been filed against you.

         Wi thin 2 1 days after serv ice of thi s summons on you (not co unti ng the day you received it) - or 60 days if you
are the United States or a Un ited States agency, or an officer or employee of the United States described in Fed. R. Civ .
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rul es of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: SAVE OUR CHILDREN TRUTH COMMISSION
                                            C/O STEVEN BRADLEY
                                            22036 N. Black Canyon Highway
                                            Lot 28, Phoenix Ari zona



        If yo u fa il to respond, j udgment by defau lt wi ll be entered against you for the relief demanded in the co mpla int.
You also must fil e your answer or motion with the court.
                                                                              Peter A. Moore, Jr., Clef1c

                                                                                 CLERK OF CO URT


                                                                                                                   {t/V)
                                                                                                                -
 Date:
                                                                                                            Deputy Clerk




                      Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 30 of 61
AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES D ISTRICT COURT
                                                                for the



   SAVE OUR CHILDREN TRUTH COMMISSION -                           )
      KRISTINA SI NGLETON BALDWIN , et al                         )
                                                                  )
                                                                  )
                                                                  )
                            P/ainli/l(.1)
                                 V.
                                                                   )
                                                                   )
                                                                          C ivil Action No.   7 '-c!:!Ja.Ct/ /?8PL
 THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                   )
KAMALA HARR IS; XAVI ER BECERRA ; MERRICK B.
                                                                   )
         GARLAND ; SCOTT COUNTY;
                                                                   )
                                                                   )
                           Defendant(~)                            )

                                                    SUMMONS IN A CIVIL ACTION

To : (IJefendant ·s 1w111e a11d address) SCOTT COUNTY
                                            100 W. 1st ST.
                                            WALDRON , ARKANS AS 72958




          A lawsu it has been filed again st you.

         With in 21 days after serv ice of this summons on you (not counti ng the day you recei ved it) - or 60 days if you
are the United States or a United States agency, or an officer or emp loyee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civi l Procedure. The answer or mot ion must be served on the plaintiff or plaintiffs attorney,
whose name and add ress are: SAVE OUR CH ILDREN TR UTH COMMISSION
                                            C/O KRISTINA SINGLETON BALDWIN
                                            3223 QUINCY ST.
                                            FORT SMITH, ARKANSAS 72903



         If you fail to respond, j udgment by defau lt will be entered aga inst you for the relief demanded in the complaint.
You a lso must file your answer or motion with the court.

                                                                           Peter A. Moore, Jr., Clerk
                                                                              CLERK OF COURT


 Date:




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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               fo r the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                        )
MELODY RODGERS ; TIJANA VIDANOVIC ; RONISHA                       )
        PETERS ; KATHRINE THOMAS                                  )
                                                                  )
                            Plaintiff(s)
                                                                  )

                                V.
 UNITED STATES , JOE BIDEN , KAMALA HARRIS,
                                                                  )
                                                                  )       C iv il Action No.   7• c)o..CJJ /'?~,-Pl,
                                                                  )
XAVIER BECERRA, MERRICK B. GARLAND ; GAVIN
                                                                  )
 NEWSOM; JERRY BROWN ; ELENA KOUNALIKIS ;
  JACKEY LACEY;ROB BONTO ; LOS ANGELES ;
                                                                  )
      RIVERSIDE ;MONTEREY COUNT IES                               )                                                                 .'
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) LOS ANGELES COUNTY
                                       300 S. Spri ng St.
                                       Los Angeles California 90013




          A lawsuit has been fil ed against you .

         Within 2 1 days after serv ice of th is summ o ns o n you (not counting the day you received it) - o r 60 days if you
are the United States or a United States agency, or an officer or employee of the U nited States described in Fed. R . C iv .
P. 12 (a)(2) or (3) - you must serve on the pla int iff an answer to the attached compl aint or a motion under Rul e 12 of
the Federa l Rules of Civi l Procedure. The answer or motio n mu st be served on the pla intiff or plai ntiffs attorney,
whose name and address are:
                                           SAVE OUR CHILDREN TRUTH COMMISSION
                                           C/0 TIJANA VIDANOVIC
                                           13066 Gridley St.
                                           Sylmar, California 91342


        If you fail to respo nd, j udgment by default wi ll be entered aga in st you fo r the re lief demanded in the compla int.
You a lso mu st fi le your answer o r moti on with the cou rt.




Date:




                       Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 32 of 61
AO 440 (Rev. 06/ 12) Summons in a Civi l Action


                                       UNITED STATES DISTRICT COURT
                                                                   fo r the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                             )
MELODY RODGERS ; TIJANA VIDANOVIC ; RONISHA                            )
    PETERS ; KATHRINE THOMAS ; DESIREE                                 )
       PETERSON ; WILNIESA TURNER
                                                                       )
                             Plaintiff(s)
                                                                       )
                                  V.
 UNITED STATES , JOE BIDEN , KAMALA HARRIS,
                                                                       )
                                                                       )      Civi l Action No.   7~ a;lC)I/78 ~(_,
                                                                       )
XAVIER BECERRA, MERRICK B. GARLAND ; GAVIN
                                                                       )
 NEWSOM; JERRY BROWN ; ELENA KOUNALIKIS ;
  JACKEY LACEY; ROB BONTO ; LOS ANGELES ;
                                                                       )
      RIVERSID E;MONT ER EY COU NTIES                                  )
                            Defe ndant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To : (Defendant 's name and address) RIVERS IDE COUNTY CALIFORNIA
                                        3960 Orange St.
                                        Riverside, Cal ifornia 92501




           A lawsu it has been filed again st you.

         Within 21 days after service of thi s summons on you (not counti ng th e day you received it) - or 60 days if you
are the United States or a Un ited States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civi l Procedure. The answer or motion must be served on the pla intiff or plaintiff's attorney,
whose name and address are:
                                            SAVE OUR CHILDREN TRUTH COMMISSION
                                            C/O RON ISHA PETERS
                                            7381 La Tijera Blvd
                                            Apt451304
                                            LOS ANG ELES , California 90045
        If you fai l to respond, judgment by defau lt wi ll be entered agai nst you fo r the relief demanded in the complai nt.
You also must file your answer or motion w ith the court.



                                                                                  CLERK OF COURT


 Date:




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 33 of 61
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                       )
MELODY RODGERS; TIJANA VIDANOVIC ; RONISHA                        )
    PETERS ; KATHRINE THOMAS ; DESIREE                            )
       PETERSON ; WILNIESA TURNER
                                                                  )
                            Plaintiff(s)
                                                                  )

                                V.
 UNITED STATES, JOE BIDEN , KAMALA HARRIS,
                                                                  )
                                                                  )      Civil Action No.   7.' aae,,v/78 Fl.-
                                                                  )
XAVIER BECERRA, MERRICK B. GARLAND ; GAVIN
                                                                  )
 NEWSOM; JERRY BROWN ; ELENA KOUNALIKIS;
                                                                  )
  JACKEY LACEY;ROB BONTO; LOS ANGELES ;
      RIVERSIDE ;MONTEREY COUNTIES                                )
                           Defendant(s)                           )

                                                     SUMMONS IN A CIVIL ACTION

To : (Defendant 's name and address) MONTEREY COUNTY CALIFORNIA
                                     142 W. Alisal St.
                                           Suite A, Salinas
                                           California 93901




          A lawsuit has been filed against you .

         Within 21 days after service of thi s summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                           SAVE OUR CHILDREN TRUTH COMMISSION
                                           C/O KATHRINE THOMAS
                                           1641 Bunker Hill Way
                                           Salinas, California 93902


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                             Peter A Mon,.,. ,_
                                                                            CLERK OF"CTJrj'J!Je,t


 Date:




                       Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 34 of 61
       AO 440 (Rev. 06/12) Summons in a Civil Action


                                              UNITED STATES DISTRICT COURT
                                                                       for the



       SAVE OUR CHILDREN TRUTH COMMISS ION - JOY                         )
         TYLER AND ROBERT LISBY JR .; STEPHANIE                          )
            DENISE HUMPHRIES ; APR IL FOX ; et al                        )
I,                                                                       )
 I                                 Plainti.fl(s)
                                                                         )

                                        V.
        THE UNITED STATES OF AME RICA ; JOE BIDEN ,
                                                                         )
                                                                         )       Civil Action No .   7:aotevl~~l,
                                                                         )
       KAMALA HARRIS ; XAVIER BECE RRA ; MERRICK 8 .
                                                                         )
        GARLAND ; RON DESANTIS ; ST LUCIE COUNTY;
"l                                                                       )
        MARION COUNTY; MIAMI-DADE COUNTY; KIDS
                   -- - -CE.m~AL.-1-NC~                                  )
                                  Defendant(s)                            )

                                                          SUMMONS IN A CIVIL ACTION

'' '   To : (Defenda nt ·s name and address)
                                               MARION COUNTY
                                               601 SE 25th Ave .,
                                               Ocala, Florida 344 71




                 A lawsuit has been fi led against you .

                Within 2 1 days after service of this su mmons on you (not cou nting the day you received it) - or 60 days if you
       are the Un ited States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
       P. 12 (a)(2) or (3) - yo u must serve on the plaintiff an answer to the attached complaint or a moti on un der Rule 12 of
       the Federal Rules of Civ il Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney ,
       whose name and address are:
                                                   SAVE OUR CHILDRE N TRUTH COMMISSION
                                                   C/O STEPHANIE DENISE HUMPHRIES
                                                   13083 HUNTINGTON WOODS AVE
                                                   Spring Hill , FLORIDA 34609


              If you fail to respond, judgment by default wi ll be entered against you for the relief dem anded in the co mplaint.
       You also mu t file your answer or motion with the co u,1.


                                                                                 Pel8r A. Moore, Jr., Clerk
                                                                                    C LERK OF COURT


        Date:               ,q,a-)a.r
                              Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 35 of 61
/\0 440 (Rev. 06/12) Summons in a Civil A cti on


                                        U NITED STATES DISTRICT C OURT
                                                                   for the



SAVE OUR CHILDREN TRUTH COMMISS ION - JOY                            )
  TYLER AND ROBERT LISBY JR. ; STEPHANIE                             )
        HUMPHRIES ; APRIL FO X; et al                                )
                                                                     )
                              Plain11jj(v)                           )
                                  V.
                                                                     )
                                                                     )
                                                                             Civi l Action No . / . ' a;>cu   178 --FG
 THE UNITED STATES OF AMER ICA; JOE BIDE N,
                                                                     )
KAMALA HARRIS ; XAVIER BECER RA ; MERRICK B.
                                                                     )
 GARLAND ; RON DESANTIS ; ST LUCIE COUNTY;
                                                                     )
 MAR ION COUNTY; MIAMI-DADE COUNTY; KID S
               CENTRAL INC--                                         )
                             Defenda111(s)                            )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendan1 's name and address) MIAMI-DADE COU NTY
                                         1350 NW 12TH Ave .,
                                         Miam i, Florida 33136




           A lawsuit has been fil ed again st yo u.

         With in 21 days after serv ice of this summons on yo u (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or mot ion must be served on the plaintiff or plai ntiff's attorney,
whose nam e and address are: SAVE OU R CHILDREN TR UTH COMMISS ION
                                             C/O APR IL FOX
                                             3054 NW 203 LANE
                                             MI AMI GARDENS , FLORI DA 33056



       If you fail to respond, judgment by defau It wiII be entered aga in st yo u for the relief dem anded in the complaint.
You also mu st fi le yo ur answer or moti on wi th the co urt.
                                                                             Peter A, Moore, Jr., Clelk

                                                                                  CLERK OF COURT


 Date:




                         Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 36 of 61
AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                       U NITED STATES D ISTRICT COURT
                                                                 for th e



SAVE OUR CHILDREN TRUTH COMMISSION - JOY                             )
  TYLER AND ROBERT LISBY JR .; STEPHANIE                             )
        HUMPHRIES ; APRIL FOX ; et al                                )
                                                                     )
                                                                     )

                                                                                                 7.·~ nB -r:-{,
                             Plaintiff(s)
                                                                     )
                                 V.                                         C iv il Action No.
                                                                     )
 TH E UNITED STATES OF AME RICA ; JOE BIDEN ,
                                                                     )
KA MALA HARRIS; XAVIER BECE RRA ; MERRICK B.
                                                                     )
 GARLAND ; RON DESANTIS ; ST LUCIE COUNTY;
 MARION COUNTY; MIAMI-DADE COUNTY; KIDS
                                                                     )
   - - - -----\c,~RA-L-1-NC~                                         )
                            Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)
                                        ST. LUCIE COUNTY
                                        411 S. 2ND St. ,
                                        Fort Pierce Florida, 34509




           A laws uit has been fi led against) ou.

         Within 2 1 days after service of this su mmons on yo u (not counting th e day you received it) - or 60 days if you
are the United States or a United States agency , or an officer or employee of the United States described in Fed. R. C iv .
P. 12 (a)(2) or (3)-you mu st serve on the pla intiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rul es of C iv il Procedure. The answer or motion mu st be served on the plaintiff or pla int iff's attorney,
whose name and address are : SAVE OUR CHILDREN TRUTH COMMISSION
                                            C/O JOY TYLE R AND ROBERT LISBY JR .
                                            1708 N 12TH ST.
                                            APTA
                                            FO RT PIERCE, FLORIDA 34950


         If you fa il to respond, judgment by defa tit wi ll be entered aga inst you for the relief dem anded in the co mplaint.
You a lso mu st fil e yo ur an swer or motion w ith the cowt.
                                                                            Peter A. Moore, Jr., Cieri(

                                                                                CLERK OF COURT


 Date:




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 37 of 61
'!

          AO 440 (Rev. 06/ 12) Summons in a Civi l Acti on


                                                  UNITED STATES DISTRICT COURT
                                                                             for the



            SAVE OUR CHILDREN TRUTH COMMISSION -                                 )
           LAURIE REYNOLDS ; KRISTEN CLAR K-HASSELL;                             )
                     KESHIA HOLLIMAN et al                                       )
                                                                                 )
                                        Plaintiff(s)                             )
                                            V.
                                                                                 )
                                                                                 )
                                                                                       Civil Action      o.   ?i ~ /?8 ~
           THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                                 )
          KAMALA HARRIS ; XAVIER BECERRA ; MERRICK B.
                                                                                 )
           GARLAND; JERRY MILNER ; et al; BR IAN KEMP ;
                                                                                 )
 1/   1       GAMDE N CO UNTY; LAURENS COUNTY
                                                                                 )
                                       Defendant(s)                              )

                                                               SUMMONS IN A CIVIL ACTION

          To: (De.fe11dc1111 ·.1· name and address)
                                                      CAMDE N COUNTY
                                                      210 E. 4th St.
                                                      Woodbine, Georgia, 31569



  I ',
                     A lawsuit has been filed against you .

                   Within 2 1 days after serv ice of this summons on yo u (not counting the day you received it) - or 60 days if you
          are the United States or a United States agency , or an officer or employee of the United States described in Fed. R. Civ .
          P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached comp laint or a motion under Rule 12 of
          th e Federal Rules of Civi l Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney ,
          whose name and addre s are:
                                                       SAVE OUR CHILDREN TRUTH COMMISSION
                                                       C/O LAURIE REYNOLDS
                                                       600 Victoria's Circle
                                                       St. Mary's Georgia, 31558


                  If you fail to res pond, j udgment by defau It wi II be entered against you for the relief demanded in th e co mplaint.
          You also mu st fil e your answer or motion with the court.

                                                                                        Peter A. IA00'8, Jf., c\eltc
                                                                                           CLERK OF COURT

                                                                                                                                                 "'
          Date:                                                                                                                CdtvJ
                                                                                                                                       --
                                                                                                                       of Cler or Deputy Clerk




                                  Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 38 of 61
'   I
    I

        AO 440 (Rev . 06/12) Summons in a Civil A cti on


                                                UNITED STATES DISTRICT COURT
                                                                        for the



          SAVE OUR CHILDREN TRUTH COMMISSION -                              )
         LAURIE REYNOLDS ; KRISTEN CLARK-HASSELL ;                          )
                   KESHIA HOLLIMAN et al                                    )
                                                                            )
                                      P/aintiff(s)
                                                                            )
                                          V.
                                                                            )
                                                                            )
                                                                                  C iv il Acti on   o.   7:c!J:3.CJ.J /?8-FG
         THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                            )
        KAMALA HARRIS ; XAVIER BECERRA ; MERRICK B.
                                                                            )
         GARLAND ; JERRY MILNER; et al; BRIAN KEMP ;
                                                                            )
            CAMDEN COUNTY; LAURENS COUNTY
                                                                            )
                                     Defendant(s)                           )

                                                            SUMMONS I       A CIVIL ACTION

        To: (Defendant ·s name and address)
                                                 LAURENS COUNTY
                                                 210 E. 4th St.
                                                 Woodbine, Georgia, 31569




                   A laws uit has been fil ed again st you .

                 Within 2 1 days after service of th is summ o ns on you (not counting the day yo u rece ived it) - or 60 days if you
        are th e United States or a United States agency, or an offi cer or empl oyee of the United States described in Fed. R. Civ.
        P. 12 (a)(2) or (3) - yo u must serve on the pla int iff an answer to th e attached complaint or a moti on under Rul e 12 of
        the Federa l Rules of C iv il Procedure. The answer or mot ion mu st be served on the pla intiff or plai nt iffs attorney,
        who,e mim e and address are:
                                                     SAVE OU R CHILDREN TRUTH COMMISSION
                                                     C/O KES HIA HOLLIMAN
                                                     103 GATLIN DR.
                                                     206A3
                                                     DUBLIN , GEORGIA

                 If you fail to respond, judgment by default wi ll be entered aga inst yo u for the re li ef demanded in the compla int.
         You also must file your answer or moti on with the co urt.

                                                                                   Peter A. Moore, Jr., Cler1c
                                                                                      CLERK O,_-._,URT




                                Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 39 of 61
A O 440 (Rev . 06/ 12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                               fo r the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                        )
           CHRISTINA ANDERSON                                     )
                                                                  )
                                                                  )
                              Plaintiff(s)
                                                                  )

                                  V.
                                                                  )
                                                                  )
                                                                          C iv il Actio n No.   ?-'~Ct/ /78 ~
   United States, JOE BIDEN , KAMALA HARRIS ,
                                                                  )
 XAVIER BECERRA, MERRICK B. GARLAND ; ASST
                                                                  )
SECRETARY OF CHILDREN FAMILY SERVICES ; ST.
                                                                  )
          MARY'S COUNTY MARYLAND
                                                                  )
                             Defendant(s)                         )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)
                                         ST. MARY'S COUNTY MARYLAND
                                         23110 Leonard Hall Dr.
                                         Leonardtown , Maryland , 20650




           A lawsuit has been fi led against you .

         W ithin 2 1 days after serv ice of this summo ns o n you (not co unti ng the day you received it)- or 60 days if you
are the U nited States or a U nited States agency, o r an officer o r e mp loyee of the U nited States described in Fed. R. C iv.
P. 12 (a)(2) or (3) -you must serve on the pla intiff an answer to the attached compla int o r a motion under Rul e 12 of
the Federal Rules of C iv il Procedure. The a nswer or motio n must be served on the pla intiff or plai nt iffs attorney,
whose name and address are:
                                             SAVE OUR CHILDREN TRUTH COMMISSION
                                             C/O CHRISTINA ANDERSON
                                             2550 Ironwood Way
                                             Apt E
                                             Lexington Park , Maryland 20653
        If you fa il to respo nd, j udgm ent by default w ill be entered again st you fo r the re lief demanded in the complaint.
You a lso mu st fil e your answer or motion with the court.

                                                                           Peter A. Moore, Jr., Clerfc
                                                                              CLE       OF COURT


 Date:                                                                                          aF<iCdtcm
                                                                                            Signature of Clerk or Deputy Clerk




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 40 of 61
AO -140 ( Rev. 06/1 2) Summons in a Civi l Action


                                         U NITED STATES DISTRICT COURT
                                                                  for the



 SAVE OUR CH ILDREN TR UTH COMMISSI Or-.J -                          )
SAL LY BORGHESE ; TERESA GOIN ; DAVID MINES ;                        )
  QUEENA HACKNEY; BRAN DEE RISTEMA et al                             )
                                                                     )
                               P/ainliff(s)
                                                                     )

                                   V.
 THE UNITE D STATES OF AMER ICA ; JOE BIDEN ,
                                                                     )
                                                                     )
                                                                            Civil Action     o.   7!~CLJ /?'B ,-fl
                                                                     )
KAMALA HARRIS ; XAVIER BECERRA ; MERRICK B.
                                                                     )
GARLAND ; JERRY MILNER ; GRETCHEN WHITMER ;
                                                                     )
      KE NT COUNTY; OAKLAND COUNTY
                                                                     )
                             Defendanl(s)                            )

                                                      SUMMONS IN A C IVIL ACTION

To: (Defendanl 's name and address)
                                          KENT COUNTY
                                          8201 Ionia Ave NW
                                          Grand Rap10s, Michigan , 49503




           A lawsuit has been fil ed against you .

         With in 2 1 days after service of th is su mmons on you (not counting the day you received it)- or 60 days if you
are th e Uni ted States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - yo u must serve on the pla intiff an answer to the attached comp laint or a motion under Rule 12 of
the Federal Rul es of Civil Proced ure. The answer or mot ion must be served on the plaintiff or pla intiffs attorney,
whose name and add res are:
                                              SAVE O UR CHI LDREN TR UTH COMMISS ION
                                              C/O QUEE A HACKN EY
                                              261 6 CHARLESGATE SW
                                              WYOMING, MICHIGAN 49509


        If you fa iI to respond, judgment by default wiII be entered against you for the reli ef dem anded in the comp laint.
You also mu st fil e your answer or motion with the court.

                                                                            Peter A. Moore, Jr., Clerk
                                                                                CLERK OF COURT


Date:
                                                                                &g~~~~,
                         Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 41 of 61
AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED ST ATES DISTRICT COURT
                                                                    for th e




 SAVE OUR CHILDREN TR UTH COMMISSION -                                 )
SALLY BORGHESE ; TERESA GOIN ; DAVID MINES;                            )
  QUEENA HACKNEY; BRAN DEE RISTEMA et al                               )
                                                                       )
                             PlaintifJM
                                                                       )

                                 V.
                                                                       )
                                                                       )
                                                                               Civil Action   o.   7 !~ O.J /?8 -f~
 THE UNITED STATES OF AMERICA ; JOE BIDE N,
                                                                       )
KAMALA HARRIS ; XAVIER BECERR A; MERRICK B.
                                                                       )
GARLAND ; JERRY MILNER ; GRETCHEN WHITMER ;
      KENT COUNTY; OAKLAN D COUNTY
                                                                       )
                                                                       )
                            De.fendant(s)                              )

                                                  SUMMONS IN A CIVIL ACTION

To: (Oe.fe11dan1 ·s name and address)
                                        OAKLAND COUNTY
                                        1200 N. Telegraph Rd .
                                        West Wing-Bwldir,g 14E
                                        Pontiac, Michigan , 48341



          A lawsui t has been filed against you .

         Within 2 1 days after service o f thi - su mmons on yo u (not counting the day yo u received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you mu st serve on the pla intiff an answe r to the attached complaint or a moti on under Rule 12 of
the Federa l Rules of C iv il Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                          SAVE OUR CHILDR EN TRUTH COMMISSION
                                          C/O TERESA GOIN
                                          841 West Alpha Parkway
                                          Waterford, Michigan, 48328


          If you fa il to respond, judgment by default wil l be en tered against you for the relief demanded in the comp la int.
Yo u al so mu st fil e yo ur answer or motion with the court.

                                                                                  Peter A. Moore, Jr., Cleft




 Date:




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 42 of 61
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I            A O 4-rn (Rev. 06/12) Summons in a Civil Action
I
                                                    UNITED STATES DISTRICT COURT
                                                                                 for the



               SAVE OUR CHILDREN TRUTH COMMISSION -                                 )
             RENESHA TOMLIN , LATASHA WOOLRIDGE , KENYA                             )
                         CLOUD AND MORE                                             )
                                                                                    )
                                          Plaintiff(s)
                                                                                    )
                                               V.
              THE UNITED STATES OF AMERICA ; JOE BIDEN ,
                                                                                    )
                                                                                    )      C ivil Action    o.   ?-~ /78-PG
                                                                                    )
             KAMA LA HARRIS ; XAVIER BECERRA ; MERRICK B.
                                                                                    )
                          GARLAND ; ET. AL.
                                                                                    )
                                                                                    )
                                         Defendant(s)                               )

                                                                 SUMMONS IN A CfVIL ACTION

             To: rDejendant 's name and address) Bernalillo County
                                                     Steve Schiff District Attorney Building ,
                                                     520 Lomas NW,
                                                     Fourth Floor
                                                     Albuquerque, New Mexico 87102



                        A lawsuit has been filed against you.

                      With in 2 1 days after service of this summon s on yo u (not co unting the day yo u received it) - or 60 day s if you
             are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
             P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached comp laint or a motion under Rul e 12 of
             the Federal Rules of C ivil Procedure. The answer or motion mu st be served on the plaintiff or plaintiffs attorney,
             whose name and address are: SAVE OUR CHILDREN TRUTH COMMISSION
                                                         C/O RENESHA TOMLIN
                                                         1501 Edith Blvd SE,
                                                         Apartment 3
                                                         Albuquerque, New Mexico 87102


                      If you fai l to respond, judgment by default wi ll be entered against you for the relief demanded in the comp lain t.
             You al so mu st fil e yo ur answer or motion with the court.

                                                                                           Petef A. Mo01'8, Jf., Clalk




             Date:




                                     Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 43 of 61
AO 440 (Rev. 06/ 12) Summons in a Civi l Action


                                       U NITED STATES D ISTRICT COURT
                                                                    for the




SAVE OUR CHILDREN TRUTH COMMISSION - et al                            )
 MALACHI CHAPMAN , SHANEQUA B AUSTIN, LISA                            )
            CASH , DMITRI CASH                                        )
                                                                      )
                                                                       )
                             P/aintiff(s)
                                                                       )
                                  V.
                                                                       )      Civil Action     o.   ?!~/7£!){{_,
 THE UNITED STATES OF AM ER ICA; JOE BIDEN,
                                                                       )
KAMALA HARRIS ; XAVIER BEC ERRA ; MERRICK B.
                                                                       )
  GARLAND ; JERRY MILNER ; KATHY HOCHUL;
                                                                       )
      KINGS COUNTY; MON ROE COUNTY
                                                                       )
                            Defendanl(.~)                              )

                                                   SUMMONS I         A CIVIL ACTION

To: (Defendant 's name and address)
                                        KINGS COUNTY
                                        350 Jay St. 16th Floor
                                        Brooklyn , New York 11201




           A laws uit has been fil ed against you .

         Within 2 1 days after service of this su mmons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or emp loyee of the United States described in Fed . R. Civ.
P. 12 (a)(2) or (3) - yo u must serve on the plaintiff an answer to the attached complaint or a mot ion under Rule 12 of
the Federa l Rules of Civ il Procedure . The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name an d address are :
                                            SAVE OUR CHI LDREN TRUTH COMMISSION
                                            C/O MALACHI CHAPMAN
                                            470 Dekalb Ave Apt
                                            #8C
                                            Brooklyn, New York 11205

        If you fail to res pond, judgment by default will be entered against you for the relief deman ded in the comp lai nt.
You also mu st file your an swer or motion with the court.
                                                                               Peter A. Moofe, Jr., Cler1t

                                                                                 CLERK OF COURT




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 44 of 61
i !I I 1
           AO 440 (Rev. 06/12) Summons in a C ivil Acti on


                                                  UNITED ST ATES DISTRICT COURT
                                                                         for the
 HI
  I




           SAVE OUR CHILDREN TRUTH COMM ISSION - et al                     )
            MALACHI CHAPMAN , SHANEQUA B AUSTIN , LI SA                    )
                       CASH , DMITRI CASH                                  )
                                                                           )
                                        Plaintiff(s)
                                                                           )
                                             V.
            THE UNITED STATES OF AME RICA ; JOE BIDEN ,
                                                                           )
                                                                            )      Civil Action      o.   7:ag.tAJ /?8 ,pc
                                                                            )
           KAMALA HARRIS ; XAVIER BECERRA ; MERRICK B.
                                                                            )
             GARLAND ; JERRY MILNER ; KATHY HOCHUL;
 ,. '                                                                       )
 I    '          KINGS COUNTY; MON ROE COUNTY
                                                                            )
                                       Defendant(s)                         )

                                                              SUMMONS IN A CIVIL ACTION

           To : (Defendam ·s name and address)
                                                   MONROE COUNTY NEW YORK
                                                   47 S. Fitzhug h St.
                                                   Rochester, NY 14614



  '   :
  '
                      A lawsuit has been fil ed again t you

                    Within 2 1 days after service of thi s summo ns on you (not counting the day you rece ived it) - or 60 days if yo u
           are the Uni ted States or a United States agency, or an officer or employee of the United States described in Fed . R. C iv .
           P. 12 (a)(2) or (3) - you must serve on the pla in t iff an answe r to the attached complaint or a moti on under Rule 12 of
           the Federal Rules of Civi l Proced ure. The answer or motion mu st be served on the plaintiff or plaintiff s attorney,
           whose name and address are:
                                                       SAVE OUR CHILDREN TRUTH COMMISSION
                                                       C/O SHANEQUA B AUSTIN
                                                       34 N. Clinton Ave.
                                                       Rochester, New York 14605


                   If you fa iI to respond, judgment by de fau It wi 11 be entered against you for the reli ef demand ed in the compla int.
           You al so mu st file yo ur answer or motion wi th the court.

                                                                                     Peter A. MOOl'e, Jr., Clerlc
                                                                                       CLERK OF COURT



            Date :
                                                                                   &';1~,~ !~,,
                                   Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 45 of 61
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                      )
            DEANNA ROBINSON                                     )
                                                                )
                                                                )
                            Plaintiff(s)
                                                                )

                        V.
                                                                )
                                                                )
                                                                       CivilActionNo.      7"c3::).C,,,u   /?BFl
   THE United States of AMERICA, JOE BIDEN,
                                                                )
KAMALA HARRIS, XAVIER BECERRA, MERRICK B.
                                                                )
 GARLAND ; US ASST SECRETARY OF CHILDREN
 AND FAMILY SERVICES ; SCOTT COUNTY OHIO
                                                                )
                                                                )
                           Defendant(s)                         )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)
                                       WASHINGTON COUNTY OHIO
                                       205 PUTNAM ST.
                                       MARIETTA, OHIO 45750




          A lawsuit has been filed against you .

         Within 21 days after service of thi s summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
w hose name and address are:
                                           SAVE OUR CHILDREN TRUTH COMMISSION
                                           C/O DEANNA ROBINSON
                                           2650 Moss Run Rd .
                                           Marietta, Ohio 45750


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                       Peter A. Moore, Jr., C1elk
                                                                          CLERK OF COURT



                                                                             (A~10:f'::a.__.,,,
                       Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 46 of 61
AO   ➔40   (Rev. 06/12) Summons in a Civil Acti on


                                           UNITED STATES DISTRICT COURT
                                                                    for the



     SAVE OUR CHILDREN TRUTH COMMISSION -                             )
               JESSICA KIRBY; et al                                   )
                                                                      )
                                                                      )
                                Plainti.fl(s)
                                                                      )

                                     V.
                                                                      )
                                                                      )
                                                                              Civi l Action   o.   7:~C,i/ /78/:l
 THE UN ITED STATES OF AMER ICA; JOE BIDEN ,
                                                                      )
KAMALA HARRIS ; XAVIER BECERR A ; MERRICK B.
                                                                      )
  GAR LAND ; JERRY MILNER ; et al; TOM WOLF ;
                                                                      )
             ALLEGHANY COUNTY
                  - ----------
                                                                      )
                               Dejendanl(s)                           )

                                                        SUMMONS IN A CIVIL ACTION

To: (Def endant ·s name and address)
                                            ALLEG HANY COUNTY
                                            300 FORT PITT COMMO NS BUILDING
                                            445 FORT PITT BOULEVARD
                                            PITTSBURGH, PENNSYLVANIA 15219



              A laws uit has been fi led against you.

         Within 2 1 days after serv ice of this summons on you (not co unting the day you rece ived it) - or 60 days if you
are the Un ited States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- yo u must serve on the plain tiff an answer to the attached co mplai nt or a motion under Ru le 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                                SAVE OUR CHI LDR EN TRUTH COMMISSIO N
                                                C/O JESSICA KIRBY
                                                P.O. Box 5599
                                                PITTSBURGH , PENNSYLVANIA 15207


        If you fai l to respond, j udgment by default wi ll be entered against you for the re lief demanded in the compla int.
You also must file your answer or moti on with the court.

                                                                              Peter A. Moore, Jr., C\Emt
                                                                                  CLERK OF COURT


Date:
                                                                                         ~ {(bt;td'
                                                                                               Sig nature of Clerk or De~   k




                           Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 47 of 61
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             fo r the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                      )
NATASHA LOACH ; EMILY O'DELL; WILLIAM O'DELL ;                  )
      LORIBETH AARON ; TINA BRANDON                             )
                                                                )
                            Plaintiff(s)
                                                                )
                                V.
 UNITED STATES , JOE BIDEN , KAMALA HARRIS,
                                                                )
                                                                )
                                                                        C iv il Acti on No.   7~~V/ J78Fl
                                                                )
XAVIER BECERRA, MERRICK B. GARLAND ; GREG
                                                                )
  ABBOT; DAN PATRICK ; KEN PAXTON ; JAMIE
                                                                )
    MASTERS ; BELL, MCLENNAN , & WICHITA
                                                                )
                           Defe ndant(s)                        )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)
                                       MCLENNAN COUNTY TEXAS
                                       219 N. 6th St.
                                       #200
                                       Waco , Texas 76701



          A lawsuit has been fil ed against you .

         With in 2 1 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. C iv .
P. 12 (a)(2) or (3)-you must serve on the pla intiff an answer to th e attached compla int or a motion un der Rule 12 of
the Federal Rules of C ivil Procedure. The answer or moti on must be served on the pla intiff or plaint iff's attorney,
whose name and address are:
                                           SAVE OUR CHILDREN TRUTH COMMISSION
                                           C/O WILLIAM AND EMILY O'DELL
                                           670 Elmwood Dr.
                                           Woodway, Texas 76712


       If you fa il to respond, j udgment by default w ill be entered aga inst you fo r the re lief demanded in the complaint.
You also must fil e your answer or motion w ith the court.
                                                                           Peter A. Moore, Jr., Clerk




Date:




                       Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 48 of 61
AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                   for the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                           )
NATASHA LOACH ; EMILY O'DELL ; WILLIAM O'DELL ;                      )
      LORIBETH AARON ; TINA BRANDON                                  )
                                                                     )
                             Plaintiff(s)
                                                                     )
                                 V.
 UNITED STATES , JOE BIDEN, KAMALA HARRIS ,
                                                                     )
                                                                     )       C ivil Action No.      7! do--C/4/f / 0FL
                                                                     )
XAVIER BECERRA, MERRICK B. GARLAND ; GREG
                                                                     )
  ABBOT; DAN PATRICK ; KEN PAXTON ; JAMIE
    MASTERS ; BELL, MCLENNAN , & WICHITA
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)
                                            BELL COUNTY TEXAS
                                            1201 Huey Dr.
                                            Belton, Texas, 76513




          A lawsuit has been filed against you.

         Within 2 1 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civi l Procedure. The answer or motion mu st be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                            SAVE OUR CHILDREN TRUTH COMMISSION
                                            C/O NATASHA LOACH
                                            400 Liberty St.
                                            Apt. 105
                                            Killeen , Texas 76543

       If you fail to respond, judgment by default will be entered agai nst you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                              Peter A. Moore, Jr., Clerk
                                                                                 C        OF COURT


Date:                                                                                                      (drchJ
                                                                                                                       ----
                                                                                                 nature of /erk or Deputy Clerk




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 49 of 61
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 fo r the



SAVE OUR CHILDREN TRUTH COMMISSION ET. AT;                            )
NATASHA LOACH ; EMILY O'DELL; WILLIAM O'DELL ;                        )
      LORIBETH AARON ; TINA BRANDON                                   )
                                                                      )
                            Plaintiff(s)                              )
                                V.
                                                                      )
                                                                      )
                                                                             Civ il Action No.   ?~o~W /78Pl
 UNITED STATES , JOE BIDEN , KAMALA HARRIS,
                                                                      )
XAVIER BECERRA, MERRICK B. GARLAND ; GREG
                                                                      )
  ABBOT; DAN PATRICK ; KEN PAXTON ; JAMIE
    MASTERS ; BELL, MCLENNAN , & WICHITA
                                                                      )
                                                                      )
                           Def endant(s)                              )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)
                                       WICHITA COUNTY TEXAS
                                       900 7th St.
                                       Wichita Fall s, Texas, 76301




          A lawsuit has been fil ed against you.

         With in 2 1 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States descri bed in Fed. R. C iv.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached compl aint or a motion under Rule 12 of
the Federal Rules of C ivil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                       SAVE OUR CHILDREN TRUTH COMMISSION
                                       C/O WILLIAM AND EMILY O'DELL
                                       670 Elmwood Dr.
                                       Wood way, Texas 76712


       If you fai l to respond, j udgment by default will be entered against you fo r the relief demanded in the complaint.
You also must fil e your answer or motion with the co urt.


                                                                            Peter A. Moore, Jr., Clerf<
                                                                                          OF COURT


Date:
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                       Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 50 of 61
I   '   AO 440 (Rev. 06/ 12) Summons in a Civil Acti on
i
                                                UNITED STATES DISTRICT COURT
                                                                        for the



           SAVE OUR CHILDREN TRUTH COMMISSION -                           )
                  CONNIE L. JOHNSO N et al                                )
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                                          V.
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         THE UNITED STATES OF AMER ICA ; JOE BIDEN ,
                                                                          )
        KAMALA HARRIS ; XAVIER BECE RRA ; MERRICK 8 .
                                                                          )
         GARLAND ; JERRY MILNER ; BI LL LEE ; BLOUNT
                          COUNTY                                          )
                                                                          )
                                    Defe11dant(.1~                        )

                                                          SUMMONS IN A CIVIL ACTION

        To: (Defendant 's name and address)
                                                 BLOUNT COUNTY
                                                 942 East Lamar Alexander Parkway
                                                 Maryville, Tennessee, 37804




                  A laws uit has been filed again st you.

                 Within 2 1 days after service of this summons on yo u (not cou nting the day you received it) - or 60 days if you
        are the Un ited States or a United States agency, or an officer or empl oyee of the United States described in Fed. R. Civ.
        P. 12 (a)(2) or (3) - yo u mu st serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
        the Federa l Rul es of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorn ey,
        whose name and address are :
                                                 SAVE OUR CHILDREN TRUTH COMMISSION
                                                 C/O CON NIE L. JOHNSON
                                                 700 Hollywood Rd .
                                                 Knoxville ,Tennessee 37919


                 If you fa il to respond , judgment by default wi II be en tered again st you for the reli ef demanded in the com pl a int.
        Yo u also mu st fil e yo ur answer or moti on w ith the court.

                                                                                    Peter A. Moore, Jr., C'8ltc
                                                                                      CLERK OF COURT


        Date :
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                                Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 51 of 61
 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                     for the


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                                                                                Civi l Action No.    '7.,dd--C,(/ /18 ~l-
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                           Defe~ l(s)                                  )

                                                        SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)

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                            . v0'fll~ Na, kti\ q 9~ l/ - Ooo I

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or emp loyee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

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                                                   JA-cts..:NVI~ N'- 28S'tu
         If you fai l to respond, judgment by default will be entered against you for the relief demanded in the comp laint.
You a lso must file your answer or motion with the court.

                                                                                    Peter A. Moore, Jr., Clerk




Date :       /O/,a.J~
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                      Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 52 of 61
AO 440 (Rev. 06/12) Summons in a Civil Acti on (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summ ons fo r (name a/individual and title, 1/ any)
 was rece ived by me on (date)


           0 I personally served the summ ons on the indiv idual at (place)
                                                                                      on (date)                             ; or

           0 I left the summon s at the ind iv idua l's res idence or usua l place of abode w ith (name)
                                                                    , a perso n of suitable age and disc reti on who res ides there,
          ------------------
           on (date)                                , and mailed a copy to th e individual 's last known address; or
                        --------

           0 I served the summons o n (name of individual)                                                                            , who is
           designated by law to accept service of process on beha lf of (name of organization)
                                                                                    on (date)                               ; or
         ------------------------
           □   I returned the summons unexecuted because                                                                                  ; or

          0 Other (specify):




          My fees are$                             fo r trave l and $                     for serv ices, fo r a total of$          0.00


          I dec lare under pena lty of perj ury th at thi s in for matio n is true.



Date:
                                                                                                  Server's signature



                                                                                             Printed name and title




                                                                                                  Server 's address

Additional info rmation regarding attempted service, etc:




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 53 of 61
   AO 440 (Rev. 06/12) Summons in a Civil A ction


                                             UNITED STATES DISTRICT COURT
                                                                             for the


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'5fc.gtlllA jM£.tt.\C. k     s. '=7,\~LANO j          ~ WG,ll!Act:               ~
        ~ rtJ1'/                                                                 )
                               Defendant(s)                                      )

                                                           SUMMONS IN A CIVIL ACTION

   To : (Defendant 's name and address)

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                                        I 9C>o E . Mo<fis
                                          \Nich \to.) KCJ)SQS                    CD7 ~ l l
            A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed . R. Civ.
  P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
  whose name and address are:
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         If you fail to respond , judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with th e court.




  Date: _         __.__
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                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 54 of 61
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           Th is sum mons for (name of individual and title, if any)
was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                 011 (date)                            ; or

           0 I left the summons at the individual 's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual 's last known address; or
                        --------

          0 I served the summons on (name of individual)                                                                        , who is
           designated by law to accept service of process on behalf of (na me of organization)
                                                                                 on (date)                             ; or

          0 I returned the summons unexecuted because                                                                                ; or

          0 Other (specify):




          My fees are$                             for travel and $                  for serv ices, fo r a total of$          0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                              Server's signature



                                                                                         Printed name and title




                                                                                              Server 's address

Additio nal information regarding attempted service, etc:




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 55 of 61
     AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                             UNITED STATES DISTRICT COURT
                                                                             for the



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                                  Plaintifl(s)                                 )
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                                                                                        Civ il Action No.   /~OdU.J n'o ~
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           ~ l<.I\N(~                                        )
                                 Defenda nl(s)                                 )

                                                             SUMMONS IN A CIVIL ACTION

     To: (Defendant 's name and address)
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                                                        t'lD sw tcs»' ,Ave

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              A lawsu it has been filed against you .

             Within 2 1 days after service of this summo ns on you (not co unting the day yo u received it) - or 60 days if you
    are the United States or a United States agency, or an officer or employee of the United States described in Fed . R. C iv.
    P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
    the Federal Rules of Civil Proced ure. The answer or motion must be served on the plaintiff or plaintiffs atto rney,
    whose name and address are:

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                                                         J\..c~v\U..<. 1 N(.... 2-Ssy--V
            If you fail to respond, judgment by default will be entered against yo u for the relief demanded in the complaint.
    You also must file your answer or motion with the court.

                                                                                           Peter A. Moore, Jr., Clerk
                                                                                          C RKOF COURT


    Date: _           _{   o-1--L
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                                                                                                                          -
                                                                                                      Signature of Clerk or Deputy Clerk




                           Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 56 of 61
AO 440 (Rev. 06/ 12) Summons in a C ivil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, if any)
 was received by me on (da te)

           0 I personally served the summons on the individual at (place)
                                                                                  on (da le)                          ; or

           0 I left the summons at the individual 's residence or usual place of abode with (name)
                                                                   , a person of suitable age and discretion who resides there,
          ------------------
           on (date)                                 , and mailed a copy to the individual's last known address; or

           0 I served the summons on (na me of individual)                                                                     , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (dale)                           ; or
          -----------------------
           0 I returned the summons unexecuted because                                                                              ; or

           0 Other (specify) :




           My fees are$                             for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server 's signature



                                                                                          Printed name and lille




                                                                                               Server 's address

Additional information regarding attempted service, etc:




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 57 of 61
  A O 440 (Rev. 06/12) Summons in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                       for the



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                                Plaintiff(s)                             )
                                    V.
                                                                         )
                                                                         )       Civil Action No.   '7: a3-6J /7B fv
     \Jt1tted stcxrc.~;            JOl. Si~)
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      Q2"3cHW V"\HU{}Ed.; oAcLANO ~cuJV'J'/ )
                               Defendant(s)                              )


                                                        SUMMONS IN A CIVIL ACTION

  To: (Defendant 's name and address)
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                                               111    s. Copit"o I Ave.
                                               ,1-c.ns·,{)~ 1 f\A,chi,9C'<' ijsq33

           A lawsuit has been filed against you .

           Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
  whose name and address are:
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          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.

                                                                                       Peter A. Moore, Jr., Clertc

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  Date : _ _.;,__
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                       Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 58 of 61
AO 440 (Rev. 06/1 2) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                        PROOF OF SERVICE
                        (This section should not be filed with th e court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, 1/ any)
was rece ived by me on (da te)

           0 I personally served the summons on the individual at (place)
                                                                                  on (da te)                            ; or
         - - - - - -- - - - - - - - - - - - - - - - -
           0 I left the sum mo ns at the ind ivid ual's res idence or usual place of abode with (name)
                                                                   , a person of suitable age and discretion who res ides there,
         - - - - - - - - - - - - - -- - - -
           on (da te)                               ' and mailed a copy to the individual' s last known ad dress; or
                         --------

          0 I served the sum mo ns on (name of individual)                                                                        , who is
                                                                       ---------------------
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                             ; or

          0 I returned the summons unexecuted because                                                                                 ; or

          0 Other (specify):




          My fees are$                             for trave l and $                  fo r services, fo r a total of$          0.00


          I declare under penalty of perj ury that this info rmation is true.


Date:
                                                                                               Server 's signature



                                                                                          Printed name and title




                                                                                               Server 's address

Additional info rm ation regarding attempted service, etc:




                         Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 59 of 61
   AO 44 0 (Rev. 06/12) Summons in a Civil Acti on


                                          UNITED STATES DISTRICT COURT
                                                                          for the



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'Stc.uc9_; f\J\c{'( ic... B qo.rlG.11d j S t ~ UJJrJ-r/ )
                                                                            )
                              Defenda nt(s)                                 )

                                                            SUMMONS IN A CIVIL ACTION

   To: (Defendant ·s name and address)

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            A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed . R. Civ.
   P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to th e attached complaint or a moti on under Rule 12 of
   the Federal Rules of Civil Procedure . The answer or motion must be served on the pla intiff or plaintiff's attorney,
   whose name and address are:

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            ff you fail to respond, judgment by default will be entered again st you for the relief demanded in the compla int.
  You al so mu st file your answer or motion with the court.


                                                                                      Peter A. Moore, Jr., Clerk
                                                                                      CLERK OF COURT


  Date :
                                                                                      ~5~~,lmy~u•
                         Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 60 of 61
AO 440 (Rev. 06/ 12) Summons in a Civil Acti on (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed witlt the court unless required by Fed. R. Civ. P. 4 (I))

           This summons fo r (name of individual and title, if any)
was received by me on (date)

           0 I personally served the summons on the individual at {place)
                                                                                    on (date)                             ; or

           0 I left the summons at the individual ' s res idence or usual place of abode with {name)
                                                                     , a person of suitable age and discretion who res ides there,
          - - - -- - -- -- - - - - - - - -
           on {date)                                 ' and mailed a copy to the individual 's last known address; or

           0 I served the summons on (name of individual)                                                                          , who is
            des ignated by law to acce pt service of process on behalf of (name of organization)
                                                                                    on (date)                             ; or

           0 I returned the summons unexecuted because                                                                                  ; or

           0 Other {specify):




           My fees are$                             fo r trave l and $                  fo r services, fo r a total of$          0.00


           I dec lare under penalty of perj ury that this info rmation is true.



Date:
                                                                                                Server 's signature



                                                                                            Printed name and title




                                                                                                Server 's address

Additional information regardin g attem pted service, etc:




                        Case 7:22-cv-00178-FL Document 62 Filed 10/12/22 Page 61 of 61
